Case 1:21-cv-22492-KMW Document 12 Entered on FLSD Docket 07/15/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               Case No. 21-22492-CIV-WILLIAMS

  NORWEGIAN CRUISE LINE
  HOLDINGS, LTD., et al.

           Plaintiffs,

  vs.

  SCOTT RIVKEES, M.D.,

           Defendant.
                                       /

                                             ORDER

           THIS MATTER is before the Court on Plaintiffs’ motion for preliminary injunction.

  (DE 3.) On July 13, 2021, Plaintiffs (“NCLH”) filed this action seeking a preliminary and

  permanent injunction preventing Defendant from enforcing Fla. Stat. § 381.00316 against

  them. (DE 1 at 19.) NCLH also seeks a declaratory judgment that this statute is unlawful

  as applied to them. (Id.) On that same day, NCLH filed a motion for preliminary injunction

  requesting that the Court enjoin Defendant from enforcing Fla. Stat. § 381.00316 against

  them pending resolution of the merits of this case. (DE 3.) Accordingly, it is ORDERED

  AND ADJUDGED that the Parties shall comply with the following schedule:

        1. NCLH is DIRECTED to immediately serve on Defendant a copy of: (i) the

           Complaint (DE 1); (ii) the motion for preliminary injunction and its exhibits (DE 3);

           and (iii) this Order. NCLH is further DIRECTED to file proofs of service on the

           docket by no later than July 16, 2021.

        2. By no later than July 23, 2021, Defendant shall file a brief in opposition to the

           motion for preliminary injunction and any affidavits or other evidence in support.



                                                 1
Case 1:21-cv-22492-KMW Document 12 Entered on FLSD Docket 07/15/2021 Page 2 of 2




     3. By no later than July 30, 2021, NCLH may file a reply in support of their motion.

     4. A hearing on the motion for preliminary injunction is SCHEDULED for August 6,

        2021 at 10:00 AM. Additional details will be provided to counsel of record before

        the hearing.

     DONE AND ORDERED in chambers in Miami, Florida, this 14th day of July 2021.




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